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1 IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
2 SOUTHERN DIVISION

4 GARY BRICE MCBAY,
Plaintiff,

6 VERSUS CIVIL ACTION NO: 1:07CV1205-LG-RHW

ES SATE SRT MAS RE IN ROENTGENOL SN

HARRISON COUNTY, MISSISSIPPI,
8 BY AND THROUGH ITS BOARD OF
SUPERVISORS; HARRISON COUNTY
9 SHERIFF GEORGE PAYNE; WAYNE
PAYNE; DIANE GASTON RILEY;
10 STEVE CAMPBELL; RICK GASTON;

RYAN TEEL; MORGAN THOMPSON;

11 JOHN DOES 1 - 4; AMERICAN
CORRECTIONAL ASSOCIATION;

12 JAMES A. GONDLES, JR.; UNKNOWN
DEFENDANTS 1 - 3 EMPLOYEES OF

13 AMERICAN CORRECTIONAL
ASSOCIATION; HEALTH ASSURANCE,

14 LLC, AND UNKNOWN DEFENDANTS 1
- 2 EMPLOYEES OF AMERICAN

15 CORRECTIONAL ASSOCIATION,

Defendants.

18 DEPOSITION OF THOMAS RANDAZZO

20 Taken at the offices of Dukes, Dukes,
Keating & Faneca, 2909 13th Street,

21 Sixth Floor, Gulfport, Mississippi, on
Thursday, July 9, 2009, beginning at

22 9:32 a.m.

EXHIBIT

A

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Simpson Burdine & Migues 228.388.3130
sbm@sbmreporting.com

Blumberg No. 5208

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going on or what, but I know there was quite a few

people there.

Q. Did reading this narrative that you gave
one of the investigating police officers, does
that refresh your memory of any injuries that Mr.
McBay was showing that night?

A. I really couldn't say because I don't
know if I injured him when I put him to the ground
either time.

Q. I'm not asking what caused it, but your
report says that Mr. McBay had a bloody nose.

A. Okay. Well, if he did, I mean, that's
the only thing I can say is it happened when I put
him on the ground. I'm not positive that I caused
injuries.

Q. We're not asking that, just if he hada

bloody nose or not?

A. I don't remember. I really can't recall
now.

QO. But you did this contemporaneous --

A. If I said it in there, yes, that's what
happened.

MR. GEWIN:
Off the record, please.
(Off the record.)

sbm@sbmreporting.com

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25

him.

Q. And you felt like just putting a bear
hug would have pretty much put him under control,
too?

A. Yeah.

Q. After he hit you in the jaw, I believe

you said you hit him?

A. Yes, Sir.

Q. Where did you hit him?

A. I'm not positive. I know it was
somewhere above the neck -- or shoulder area. I

mean, I may have caught him in the jaw, I may have
caught him in the nose, I may have caught him in
the top of the head. I don't really remember.

But once I hit him, he went down, and that's when

IT sat on him.

Q. So after you hit him one time, he went
down?

A. Yes, sir.

Q. And then you sat on him. Did you hit

him hard, as hard as you could?

A. Probably.

Q. Probably. And at that point, he was
pretty much under control after you hit him one

time?

sbm@sbmreporting.com

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